Case 1:11-cv-00632-JMS-RLP Document 31 Filed 03/29/12 Page 1 of 1                                   PageID #: 683
  AO 450 (Rev. 5/85) Judgment in a Civil Case




                                   UNITED STATES DISTRICT COURT

                                                DISTRICT OF HAWAII

   DEUTSCHE BANK NATIONAL                                   JUDGMENT IN A CIVIL CASE
   TRUST COMPANY, AS TRUSTEE
   MORGAN STANLEY ABS                                       Case: CV 11-00632 JMS RLP
   CAPITAL I INC., TRUST 2007-NC1
   MORTGAGE PASS-THROUGH
   CERTIFICATES, SERIES 2007-NC1

                   Plaintiff(s),
                                                                        FILED IN THE
                     V.                                        UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII

                                                                           March 29, 2012
   LEIGAFOALII TAFUE WILLIAMS,
                                                                     At 1 o’clock and 00 min p.m.
   ET AL.,                                                              SUE BEITIA, CLERK


                  Defendant(s).



  [T]       Decision by Court. This action came for consideration before the Court. The issues
            have been considered and a decision has been rendered.


            IT IS ORDERED AND ADJUDGED that this case is CLOSED pursuant to the,
            “ORDER GRANTING DEFENDANT WILLAMSES” MOTION TO DISMISS
            COMPLAINT FILED 10/20/11, DOC. NO. 13", by the Honorable J. MICHAEL
            SEABRIGHT, U.S. District Judge, and filed on, March 29, 2012.




                     March 29, 2012                                           SUE BEITIA
   Date                                                     Clerk

                                                                         /s/ Sue Beitia by GS
                                                            (By) Deputy Clerk
